Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 1 of 28 Pageid#: 10529




                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              Charlottesville Division



    ELIZABETH SINES, SETH
    WISPELWEY, MARISSA BLAIR, APRIL
    MUNIZ, MARCUS MARTIN, NATALIE
    ROMERO, CHELSEA ALVARADO,
    JOHN DOE, and THOMAS BAKER,
                                            Civil Action No. 3:17-cv-00072-NKM-JCH
                              Plaintiffs,
     v.

     JASON KESSLER, et al.,

                              Defendants.



            PLAINTIFFS’ RENEWED MOTION FOR SANCTIONS AGAINST
                      DEFENDANT VANGUARD AMERICA
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 2 of 28 Pageid#: 10530


                                                                  Table of Contents

                                                                                                                                                       Page


   PRELIMINARY STATEMENT.................................................................................................................. 1
   BACKGROUND ......................................................................................................................................... 1
              I.          Vanguard’s Pivotal Role in the Conspiracy to Commit Racially Motivated
                          Violence at Charlottesville................................................................................................. 1
              II.         Vanguard’s Repeated Failure to Comply with Its Discovery Obligations
                          Throughout this Litigation ................................................................................................. 3
              III.        Hopper’s Testimony Confirms His Failure to Produce Vanguard’s Social Media
                          and Email Accounts and His Failure to Preserve Evidence ............................................... 4
                          A.          Hopper’s Testimony Concerning Vanguard’s Social Media and Email
                                      Accounts ............................................................................................................... 4
                          B.          Hopper’s Testimony Concerning His Intentional Failure to Preserve
                                      Evidence, and the Destruction of Evidence Material to This Litigation ............... 5
              IV.         Rousseau’s Testimony Likewise Confirms His Failure to Produce Vanguard’s
                          Social Media and Email Accounts and His Failure to Preserve Material Evidence .......... 6
                          A.          Rousseau’s Testimony Concerning his Social Media and Email Accounts ......... 6
                          B.          Rousseau’s Testimony Concerning His Intentional Failure to Preserve
                                      Evidence and the Destruction of Evidence Material to this Litigation ................. 8
              V.          Hopper and Rousseau Once Again Disappear From this Litigation .................................. 9
   ARGUMENT ............................................................................................................................................. 12
              I.          Adverse Inferences are Warranted in Light of Vanguard’s Systemic Spoliation of
                          Material Evidence ............................................................................................................ 12
              II.         Adverse Inferences are Warranted in Light of Vanguard’s Willful Failure to
                          Comply with Discovery and Flagrant Violation of Numerous Court Orders .................. 18
   CONCLUSION .......................................................................................................................................... 20




                                                                                i
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 3 of 28 Pageid#: 10531


                                                              Table of Authorities

                                                                                                                                          Page(s)



   Cases

   Anderson v. Found. for Advancement, Educ. & Emp’t of Am. Indians,
      155 F.3d 500 (4th Cir. 1998) ................................................................................................................ 18

   Buckley v. Mukasey,
      538 F.3d 306 (4th Cir. 2008) ................................................................................................................ 12

   Butler v. DirectSat USA, LLC,
       2013 WL 6629240 (D. Md. Dec. 16, 2013) ......................................................................................... 20

   Callahan v. Pac. Cycle, Inc.,
       756 F. App’x 216 (4th Cir. 2018), cert. denied, 139 S. Ct. 1458 (2019) ....................................... 13, 17

   E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc.,
        803 F. Supp. 2d 469 (E.D. Va. 2011) ................................................................................................... 14

   Hodge v. Wal-Mart Stores, Inc.,
      360 F.3d 446 (4th Cir. 2004) ................................................................................................................ 13

   King v. Am. Power Conversion Corp.,
      181 F. App’x 373 (4th Cir. 2006) ......................................................................................................... 12

   Lee v. Max Int’l, LLC,
       638 F.3d 1318 (10th Cir. 2011) ............................................................................................................ 19

   Mut. Fed. Sav. & Loan v. Richards & Ass’n,
      872 F.2d 88 (4th Cir. 1989) .................................................................................................................. 18

   Silvestri v. Gen. Motors Corp.,
       271 F.3d 583 (4th Cir. 2001) ......................................................................................................... passim

   Sines v. Kessler,
       2019 WL 3767475 (W.D. Va. Aug. 9, 2019) ................................................................................. 18, 19

   Steves & Sons, Inc. v. JELD-WEN, Inc.,
       327 F.R.D. 96 (E.D. Va. 2018)............................................................................................................. 12

   Thompson v. Clarke,
      2019 WL 4039634 (W.D. Va. Aug. 27, 2019) ..................................................................................... 12

   Thompson v. U.S. Dep’t of Hous. & Urban Dev.,
      219 F.R.D. 93 (D. Md. 2003) ............................................................................................................... 13

   Victor Stanley, Inc. v. Creative Pipe, Inc.,
       269 F.R.D. 497 (D. Md. 2010) ........................................................................................... 12, 15, 17, 18



                                                                            ii
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 4 of 28 Pageid#: 10532


                                                                   Table of Authorities
                                                                       (continued)
                                                                                                                                                       Page(s)


   Vodusek v. Bayliner Marine Corp.,
      71 F.3d 148 (4th Cir. 1995) ........................................................................................................... passim

   West v. Goodyear Tire & Rubber Co.,
      167 F.3d 776 (2d Cir. 1999) ................................................................................................................. 12

   Young Again Prod., Inc. v. Acord,
      459 F. App’x 294 (4th Cir. 2011) ................................................................................................... 18, 19



   Other Authorities

   Federal Rule of Civil Procedure
      37 ...................................................................................................................................................... 1, 18
      37(b)(2)................................................................................................................................................. 18
      37(d)(3)................................................................................................................................................. 18
      37(e) ..................................................................................................................................................... 12




                                                                                  iii
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 5 of 28 Pageid#: 10533




                                   PRELIMINARY STATEMENT

          Plaintiffs move for the imposition of sanctions against Defendant Vanguard America

   (“Vanguard”) in light of Vanguard’s abject failure to comply with its discovery obligations in this

   litigation. Party document discovery in this matter closed approximately three months ago, and it

   is clear that Plaintiffs will never be able to obtain the full universe of discovery to which they are

   entitled based on Vanguard’s spoliation of material evidence in this case. For these reasons and

   others identified in Plaintiffs’ prior Motion for Sanctions against Defendant Vanguard America

   (see Dkt. 465 (“First Sanctions Motion”)), Plaintiffs respectfully request that the Court impose the

   following sanction against Vanguard and its authorized representatives, Dillon Ulysses Hopper

   (“Hopper”) and Thomas Ryan Rousseau (“Rousseau”), at the trial in this action pursuant to rule

   Fed. R. Civ. P. 37 and the Court’s own inherent authority:

           1.     That the Court instruct the jury that Defendant Vanguard intentionally chose
                  to withhold its documents and that the jury may draw adverse inferences
                  from that fact, including that Vanguard chose to withhold such documents
                  because it was aware that such documents contained evidence that
                  Defendant Vanguard conspired to plan racially-motivated violence at the
                  Unite the Right event.

                                            BACKGROUND

   I.     Vanguard’s Pivotal Role in the Conspiracy to Commit Racially Motivated Violence
          at Charlottesville

          Vanguard “is a white nationalist group” that served as “one of the early architects of the

   Defendants’ conspiracy to commit racially motivated violence in Charlottesville.” (See Dkt. 539

   (Memorandum Opinion at 10) (“Mem. Op.”)); First Sanctions Motion at 2.) Vanguard members

   actively participated in planning and promoting Unite the Right on Discord servers entitled, for

   example, “Southern Front,” “Cville Vanguard,” and “Charlottesvillse 2.0.” (Mem. Op. at 10; Ex.

   2 (Rousseau Depo. Ex. 80); Ex. 3 (Hopper Depo. Ex. 30).) On these Discord servers, Rousseau,

   acting in his capacity as “one of Vanguard’s leaders,” “urged other members to contact him directly

                                                     1
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 6 of 28 Pageid#: 10534




   if they planned to attend the Unite the Right event and if they wanted to travel together in a hate

   bus,” and further advised members “not to openly carry large knives because that would look[]

   really dumb.” (Mem. Op. at 10 (internal quotation marks and citation omitted).) Hopper also

   posted in the Charlottesville 2.0 server, asking participants whether he should “get some shields”

   for the rally. (Ex. 3 (Hopper Depo. Ex. 30).) In discussions with those responsible for planning,

   Hopper provided Kessler with his own suggestion for a “6 word speech, ‘Gas the kikes. Race war

   now.’” (Ex. 4.)

          Following that participation in the planning, Vanguard America showed up in significant

   numbers in uniform on Saturday, marching and causing violence, including its member Defendant

   James Fields. Indeed, Vanguard members “led the march to the park ‘chanting Blood and soil!’”

   shortly before Defendant Fields “intentionally drove his Dodge Challenger into a group of counter-

   protestors, killing one person and injuring several Plaintiffs.” (Mem. Op. at 11.) Rousseau utilized

   Discord to coordinate Vanguard’s movements on the ground during Unite the Right, telling

   members “[t]oday’s the big day. Head to McCintire [sic] park. Carpool as much as possible,

   spaces are limited. Bring any gear you plan to have at the rally,” and further alerting members that

          “[t]he leadership meeting is compromised, so leadership is going alongside anyone
          wanting to provide security. There will also be a VA general meeting afterwards,
          before the tiki march. I suggest everyone attend the leadership meeting who can to
          provide security and be present for the general meeting afterwards. Stay tuned for
          times and locations. Leadership meeting is set at 7. Be ready then.”

   (Ex. 2 (Rousseau Ex. 80); Ex. 5 (Discord Excerpt); see also Ex. 6 (Discord Excerpt) (“We aren’t

   open carrying. We have people who are concealed carrying.”).)

          After Saturday’s morning activities, and Fields’ murder of Heather Heyer with his

   automobile in the early afternoon, Vanguard members further turned to Discord to celebrate

   Fields’ actions, including by posting a meme depicting “Plaintiff Martin flying through the air with

   the caption ‘Can’t Dodge This.’” (Mem. Op. at 11.) Hopper likewise joked about Fields’ slaying

                                                    2
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 7 of 28 Pageid#: 10535




   Heather Heyer, posting in Discord that, “[y]ou don’t total out a 2010 Dodge Challenger SE for

   shits and giggles. Even if it’s only a bitch V6,” while Rousseau in turn asserted that “Fields didnu

   nuffin tbh” (i.e., “Fields didn’t do nothing, to be honest”). (Ex. 7 (Hopper Depo. Ex. 31)); Ex. 8

   (Rousseau Depo. Ex. 101).)

   II.     Vanguard’s Repeated Failure to Comply with Its Discovery Obligations Throughout
           this Litigation

           As the Court previously recognized, Vanguard has “continually failed to fulfil even [its]

   most basic obligations to this Court, [its] counsel, and other parties to this case.” (Mem. Op. at 2.)

   Vanguard’s calculated “refusal to meaningfully participate in discovery . . . despite repeated court

   orders directing [it] to do so” effectively “stalled” this litigation for a period of years, to Plaintiffs’

   severe detriment. (Id.) Indeed, Vanguard did not produce a single document from its social media

   and email accounts, and additionally failed to provide Plaintiffs with complete and accurate

   responses to their interrogatories. Nor has Vanguard complied with its obligations to preserve

   evidence in this case. To the contrary, Vanguard has conceded that “[n]o special steps were taken”

   to preserve relevant documents and communications, even when Vanguard was represented by

   counsel. (Ex. 9 at 3 (Defendant Vanguard America’s Responses to Plaintiffs’ First Interrogatories

   and Request for Production of Documents).)

           Faced with such intransigence, Vanguard’s (former) counsel went so far as to concede that

   the organization is “a problem” and confirm that Vanguard has “made clear that ‘they don’t intend

   to produce any discovery’ or ‘participate in the litigation.’” (Mem. Op. at 26.) On April 3, 2019,

   Vanguard’s counsel filed a motion to withdraw on grounds that Vanguard refused to heed

   counsel’s “instructions or requests regarding discovery obligations as to electronically stored

   information,” failed to comply with the Court’s Order to Show Cause, and additionally failed to

   provide counsel with an explanation as to why Vanguard should be excused from the Order to


                                                       3
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 8 of 28 Pageid#: 10536




   Show Cause or provided additional time in which to comply with the Court’s Orders. (See Dkt.

   459, 460.) On June 3, 2019, the Court granted this motion, finding that good cause existed where

   Vanguard had chosen to “stop[] communicating” with counsel. (Dkt. 497.)

   III.   Hopper’s Testimony Confirms His Failure to Produce Vanguard’s Social Media and
          Email Accounts and His Failure to Preserve Evidence

          A.      Hopper’s Testimony Concerning Vanguard’s Social Media and Email
                  Accounts

          After Plaintiffs filed their First Sanctions Motion, and following a hearing before the Court

   on July 2, 2019, the Court issued an Order directing Hopper to fully comply with his discovery

   obligations, as well as to sit for a deposition concerning “his and Vanguard America’s conduct in

   pretrial discovery, including their efforts to preserve any documents, information, or materials that

   are potentially relevant to this litigation.” (Dkt. 517 at 3.) Mr. Hopper sat for his Court ordered

   deposition on August 13, 2019. (See Ex. 10 (Excerpt of Hopper Deposition Tr.).) During his

   deposition, Hopper professed an inability to remember even basic information about Vanguard’s

   Discord servers and other social media accounts. (See id. at 32:10-15



                                                           ); 43:23-25

                                                                           ; 175:17-20



                                                ).) Hopper likewise maintained that he was unable to

   provide credentials or passwords for the myriad Vanguard accounts identified by Plaintiffs. (Id.

   at 107:11-13

                       Hopper further testified that he could not recall the names of numerous email

   accounts because they were just                            that were generated for the sole purpose

   of creating Discord and other social media accounts. (Id. at 116:18-24.)

                                                    4
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 9 of 28 Pageid#: 10537
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 10 of 28 Pageid#:
                                  10538



 101:13-19



                                                                         ); see also Dkt. 460 (“Mr.

 Kolenich previously had detailed, though privileged, discussions with Vanguard regarding the

 electronic discovery process.”).)

 IV.    Rousseau’s Testimony Likewise Confirms His Failure to Produce Vanguard’s Social
        Media and Email Accounts and His Failure to Preserve Material Evidence

        A.      Rousseau’s Testimony Concerning his Social Media and Email Accounts

        On October 17, 2019, Rousseau sat for his Court-ordered deposition.3 (Ex. 12 (Excerpt of

 Rousseau Deposition Tr.).) Rousseau confirmed that he was in charge of Vanguard’s social media

 accounts, as well as that he served as an “assistant” to Hopper prior to his leave of absence. (Id.

 at 123:8-10

                ); 116:5-9 (“

                                                          ).) Rousseau also willingly admitted that

 he was active in planning Unite the Right, including by participating in numerous leadership

 conference calls orchestrated by Defendant Kessler, and utilizing Discord and Vanguard’s other

 social media accounts to plan and promote the rally. (Id. at 20:2-4; 25:24-25.) Rousseau further




 the Right, and had primary responsibility for creating and operating Vanguard’s social media
 accounts, including moderating Vanguard’s Discord servers. (See Ex. 10 at 114:25-115; 30:18-
 20.)
 3
   On September 5, 2019, in light of Hopper’s sworn testimony that Rousseau was in charge of
 Vanguard and its social media accounts in the months leading up to and during Unite the Right,
 Plaintiffs petitioned the Court for leave to conduct a discovery deposition of Rousseau as
 Vanguard’s authorized representative. (Dkt. 551.) The following day, the Court granted Plaintiffs’
 motion. (Dkt. 553).
                                                 6
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 11 of 28 Pageid#:
                                  10539
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 12 of 28 Pageid#:
                                  10540
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 13 of 28 Pageid#:
                                  10541
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 14 of 28 Pageid#:
                                  10542
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 15 of 28 Pageid#:
                                  10543



                                  ); (Ex. 24 (DH00004322)

                                                  Finally, the documents reveal Hopper’s appalling

 level of contempt for both the Court and this litigation as a whole. Hopper maintained, for instance,

 that



                             (Exs. 22 and 24.)

        Hopper’s contumacious behavior is only exacerbated by Rousseau’s utter silence.

 Rousseau, through counsel, has refused to respond meaningfully to numerous communications

 from Plaintiffs seeking his compliance with the Courts’ Orders over a period of nearly three

 months. (See Ex. 29 (Email from D. Roy to B. Gleason dated October 24, 2019); Ex. 30 (Email

 from D. Roy to B. Gleason dated November 4, 2019); Ex. 31 (Email from B. Gleason to D. Roy

 dated November 6, 2019); Ex. 32 (Email from D. Roy to B. Gleason dated December 4, 2019).)

 Indeed, the third party discovery vendor informed Plaintiffs that they have not received a single

 communication from Rousseau or his counsel, much less any of his electronic devices or social

 media credentials. (Ex. 11 (Email from K. Kim to D. Roy dated December 5, 2019).) In response

 to Plaintiffs demand that Rousseau immediately comply with his discovery obligations,

 Rousseau’s counsel represented that he “spoke to [Rousseau] last week and he’s all ready to send

 the phone and such. I’ll send you the discord doc this afternoon.” (Ex. 33 (Email from B. Gleason

 to D. Roy dated December 9, 2019).) Not only did Rousseau’s counsel fail to produce the promised

 Discord authorization, but also he subsequently informed Plaintiffs that he no longer represented

 Rousseau and that Rousseau had actually been “radio silent” since November. (Ex. 34 (Email

 from B. Gleason to D. Roy dated December 18, 2019).)




                                                  11
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 16 of 28 Pageid#:
                                  10544



                                            ARGUMENT

 I.     Adverse Inferences are Warranted in Light of Vanguard’s Systemic Spoliation of
        Material Evidence

        Spoliation is “the destruction or material alteration of evidence or to the failure to preserve

 property for another’s use as evidence in pending or reasonably foreseeable litigation.” Silvestri

 v. Gen. Motors Corp., 271 F.3d 583, 590 (4th Cir. 2001) (citing West v. Goodyear Tire & Rubber

 Co., 167 F.3d 776, 779 (2d Cir. 1999)). “When a party destroys, alters or fails to preserve property

 for use as evidence in reasonably foreseeable litigation such that the judicial process is disrupted,”

 the trial court may impose an “appropriate sanction” under both the Federal Rules and its inherent

 authority. See King v. Am. Power Conversion Corp., 181 F. App’x 373, 376 (4th Cir. 2006); see

 also Thompson v. Clarke, 2019 WL 4039634, at *3 (W.D. Va. Aug. 27, 2019) (“A district court’s

 power to sanction a party for spoliation of [ESI] derives from both Federal Rule of Civil Procedure

 37(e) and the court’s ‘inherent power to control the judicial process and litigation[.]’”). Under

 either analysis, the court’s inquiry essentially “asks whether the responsible party had a duty to

 preserve, and breached that duty by failing to take reasonable steps to preserve.” Steves & Sons,

 Inc. v. JELD-WEN, Inc., 327 F.R.D. 96, 104 (E.D. Va. 2018). Moreover, “[i]n the Fourth Circuit,

 for a court to impose some form of sanctions for spoliation, any fault—be it bad faith, willfulness,

 gross negligence, or ordinary negligence—is a sufficiently culpable mindset.” Victor Stanley, Inc.

 v. Creative Pipe, Inc., 269 F.R.D. 497, 529 (D. Md. 2010). While bad faith is accordingly not a

 prerequisite to spoliation, a finding of bad faith necessarily implicates the willful intent to deprive

 because it requires “‘destruction for the purpose of depriving the adversary of the evidence[.]’”

 See id. at 530 (citing Buckley v. Mukasey, 538 F.3d 306, 323 (4th Cir. 2008)); see also Vodusek v.

 Bayliner Marine Corp., 71 F.3d 148, 156 (4th Cir. 1995) (“While a finding of bad faith suffices to

 permit such an inference, it is not always necessary.”).


                                                   12
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 17 of 28 Pageid#:
                                  10545



        In determining the proper sanction for spoliation, “the trial court has discretion to pursue a

 wide range of responses both for the purpose of leveling the evidentiary playing field and for the

 purpose of sanctioning the improper conduct.” Vodusek, 71 F.3d at 156. This “broad discretion”

 extends to “permit[ting] a jury to draw adverse inferences from a party’s failure to present

 evidence, the loss of evidence, or the destruction of evidence.” Id.; see also Callahan v. Pac.

 Cycle, Inc., 756 F. App’x 216, 227 (4th Cir. 2018) (“Before permitting a jury to draw an adverse

 inference from the absence, loss, or destruction of evidence, a trial court must find that the evidence

 at issue was relevant such that it ‘would naturally have been introduced into evidence’ and that the

 ‘intentional conduct’ of the party in control of the evidence contributed to its loss or destruction.”),

 cert. denied, 139 S. Ct. 1458 (2019); Thompson v. U.S. Dep’t of Hous. & Urban Dev., 219 F.R.D.

 93, 100 (D. Md. 2003) (“One sanction that courts have imposed pursuant to their inherent authority

 upon finding that spoliation of evidence has occurred is to give an adverse inference instruction to

 the jury.”). “Even the mere failure, without more, to produce evidence that naturally would have

 elucidated a fact at issue permits an inference that ‘the party fears [to produce the evidence]; and

 this fear is some evidence that the circumstance or document or witness, if brought, would have

 exposed facts unfavorable to the party.’” Vodusek, 71 F.3d at 156 (alteration in original) (citation

 omitted); see also Hodge v. Wal-Mart Stores, Inc., 360 F.3d 446, 450 (4th Cir. 2004) (“The

 spoliation of evidence rule allows the drawing of an adverse inference against a party whose

 intentional conduct causes not just the destruction of evidence . . . but also against one who fails

 to preserve or produce evidence[.]”).

        Here, Plaintiffs request that the Court instruct the jury that Vanguard chose to intentionally

 withhold its documents and that the jury may draw adverse inferences from that fact, including

 that Vanguard chose to withhold such documents because it was aware that such documents



                                                   13
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 18 of 28 Pageid#:
                                  10546



 contained evidence that Defendant Vanguard conspired to plan racially-motivated violence at the

 Unite the Right. The record leaves little doubt that the imposition of this sanction is required in

 order to “level[] the evidentiary playing field and . . . sanction[] [Vanguard’s] improper conduct.”

 Vodusek, 71 F.3d at 156.

        First, there is no question that Vanguard “had a duty to preserve documents or materials

 that may be relevant to” this litigation. E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 803

 F. Supp. 2d 469, 496 (E.D. Va. 2011). “The duty to preserve material evidence arises not only

 during litigation but also extends to that period before the litigation when a party reasonably should

 know that the evidence may be relevant to anticipated litigation.” Silvestri, 271 F.3d at 591.

 Moreover, even “[i]f a party cannot fulfill this duty to preserve because he does not own or control

 the evidence, he still has an obligation to give the opposing party notice of access to the evidence

 or of the possible destruction of the evidence if the party anticipates litigation involving that

 evidence.” Id. The record demonstrates that Vanguard’s authorized representatives anticipated

 litigation almost immediately following the events of Unite the Right, and certainly by the time

 Plaintiffs initiated this litigation. For example, Rousseau testified that he contacted



            (Ex. 12 at 244:7-25.) Rousseau additionally testified that he received a subpoena from

 Plaintiffs seeking relevant documents on November 1, 2018, as well as that he had consulted with

 an attorney even prior to that date. (Id. at 76:21-77:4; 78:2-5; 79:9-12; 80:8-15.) Hopper likewise

 testified that he was physically served with Plaintiffs Complaint, and that shortly thereafter he

 contacted and retained Mr. James Kolenich to represent Vanguard America. (Ex. 10 at 92:2-20;

 93:5-18.) In light of this sworn testimony, it is clear that Vanguard’s representatives anticipated




                                                  14
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 19 of 28 Pageid#:
                                  10547



 litigation mere days after Unite the Right, and that Vanguard unquestionably had an obligation to

 preserve documents by the time they learned Plaintiffs filed their complaint on October 11, 2017.

        Second, the record is replete with illustrations of Hopper and Rousseau’s intentional failure

 both to preserve and collect relevant evidence,8 and to produce relevant and material evidence that

 admittedly remains in their possession. As an initial matter, Vanguard’s sole, albeit drastically

 inadequate, discovery response affirms that Vanguard took no steps to preserve documents after

 the initiation of this litigation. (Ex. 7 at 3 (confirming that “[n]o special steps were taken” to

 preserve relevant documents or communications).) Hopper further testified that he failed to notify

 Vanguard members of their obligation to preserve relevant documents, much less collect relevant

 documents in other Vanguard members’ possession. (See Ex. 10 at 111:20-24.) Even if Plaintiffs

 were to assume, arguendo, that relevant documents have been miraculously preserved, Plaintiffs

 have no cause to believe that Vanguard would actually produce them. Hopper openly concedes

 that he has                              this litigation, and has otherwise employed a discovery

 strategy of

                         (Ex. 22 (emphasis added).) Indeed, Vanguard failed to produce a single

 document over a nearly two year period, in flagrant contempt of numerous Court Orders, and has

 only belatedly produced a limited subset of irrelevant documents. Hopper and Rousseau have

 additionally admitted under oath that they currently possess relevant documents and electronic

 devices, which they nevertheless have declined to produce or turn over to the Vendor as required.

 (See Ex. 12 at 99:7-23 (in possession of text messages and articles relevant to litigation); Ex. 11

 (Vendor unable to access any of Hopper’s email or social media accounts due to failure to provide


 8
   There is no serious dispute that the evidence at issue is relevant to this litigation. In any case,
 “[w]hen the party alleging spoliation shows that the other party acted willfully in failing to preserve
 evidence, the relevance of that evidence is presumed in the Fourth Circuit.” Victor Stanley, 269
 F.R.D. at 532.
                                                   15
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 20 of 28 Pageid#:
                                  10548
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 21 of 28 Pageid#:
                                  10549



                                                                              ), seemingly with the

 intent to demonstrate happenstance or, at worst, negligence, it is clear that “the circumstances of

 this case [are] indistinguishable from other cases in which the spoliating party was found to have

 acted in bad faith.” Victor Stanley, 269 F.R.D. at 531.

        Contrary to their empty protestations of innocence, the record demonstrates that Hopper

 and Rousseau have repeatedly “lied about their ESI production; obstructed the discovery process;

 and intentionally destroyed evidence when they were aware of the lawsuit.”10 Id. Hopper and

 Rousseau’s excuses concerning the destruction of their devices, ranging from the contradictory to

 the outright absurd, simply provide further evidence of Vanguard’s bad faith, which is only

 “compounded by their failure to comply with numerous court orders.” Id. In sum, Vanguard’s

 bad faith spoliation of material evidence in this case “necessarily flows from [the] set of facts”

 before the Court and must be properly sanctioned. See Callahan, 756 F. App’x at 227; Victor

 Stanley, 269 F.R.D. at 531 (finding bad faith spoliation where “[d]efendants took repeated,

 deliberate measures to prevent the discovery of relevant ESI, clearly acting in bad faith, and i[n]

 affidavits, depositions, and in open court, [Defendant] nonchalantly lied about what he had

 done.”).



 10
    Evidence of Vanguard’s intentional obstruction of discovery continues to mount. For example,
 due to an online leak of data in November 2019, Plaintiffs recently discovered multiple email and
 social media accounts utilized by Hopper that have never been disclosed to Plaintiffs. Plaintiffs
 specifically learned that Hopper was active on the neo-Nazi platform Iron March utilizing the
 handle Lauburu88, which was in turn registered with his undisclosed email address
 duhizzlemanizzle@gmail.com. (Ex. 35 (Iron March Exposed Excerpt).) Hopper’s messages on
 Iron March additionally revealed that Hopper utilized yet another Discord handle,
 UncleBob#6190, which was likewise never disclosed to Plaintiffs. (Ex. 36 (Iron March Exposed
 Excerpt dated February 6, 2017).) Moreover, these messages only confirm that Hopper has
 perjured himself on numerous occasions, including where he testified that he “didn’t communicate
 with anybody on [his] Tutamail account.” (Ex. 37 (Iron March Exposed Excerpt dated January
 17, 2017) (“If you could, please email me directly at Americanvanguardindiana@tutamail.com I
 would enjoy discussing whatever affairs you previously wanted to talk to me about.”).)
                                                 17
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 22 of 28 Pageid#:
                                  10550



 II.    Adverse Inferences are Warranted in Light of Vanguard’s Willful Failure to
        Comply with Discovery and Flagrant Violation of Numerous Court Orders

        Under both Rule 37 and its inherent authority, this Court has “wide discretion” to impose

 sanctions when a party fails to provide discovery or to otherwise comply with discovery ordered

 by the Court. See Mut. Fed. Sav. & Loan v. Richards & Ass’n, 872 F.2d 88, 92 (4th Cir. 1989);

 see also Fed. R. Civ. P. 37(b)(2) & (d)(3). The Fourth Circuit has developed a four-part test for

 determining whether to impose sanctions under Rule 37: “(1) whether the noncomplying party

 acted in bad faith, (2) the amount of prejudice that noncompliance caused the adversary, (3) the

 need for deterrence of the particular sort of noncompliance, and (4) whether less drastic sanctions

 would be effective.” Anderson v. Found. for Advancement, Educ. & Emp’t of Am. Indians, 155

 F.3d 500, 504 (4th Cir. 1998). The presence or absence of any one of these factors is not

 dispositive. See, e.g., Victor Stanley, 269 F.R.D. at 533.

        First, Vanguard’s self-confessed failure to comply with the Court’s repeated discovery

 orders cannot be viewed as “anything other than bad faith.” Young Again Prod., Inc. v. Acord,

 459 F. App’x 294, 302 (4th Cir. 2011). Hopper has, moreover, openly admitted to intentionally

 stonewalling discovery in order to bleed Plaintiffs’ financial resources. (See Ex. 22.) Bad faith is

 all the more evident here where the Court has “patiently afforded” Vanguard’s representatives at

 least half a dozen chances to comply with their obligations, only to be repeatedly met with outright

 defiance, or facially defective responses. Sines v. Kessler, 2019 WL 3767475, at *14 (W.D. Va.

 Aug. 9, 2019); see also Mut. Fed. Sav. & Loan Ass’n., 872 F.2d at 93 (finding that “defendants

 had acted in bad faith by both their noncompliance and their haphazard compliance of three very

 specific discovery orders”). Simply put, “no one . . . should count on more than three chances to

 make good a discovery obligation,” much less where Defendants’ own testimony is littered with




                                                  18
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 23 of 28 Pageid#:
                                  10551



 implausible and absurd assertions, if not outright lies. See Lee v. Max Int’l, LLC, 638 F.3d 1318,

 1319 (10th Cir. 2011).

        Second, Plaintiffs have been severely prejudiced by Vanguard’s willful non-compliance,

 which has effectively “stalled” this litigation (Mem. Op. at 2), and, most importantly, deprived

 Plaintiffs of evidence relevant to prove their case at trial. This Court has already found harm where

 “Plaintiffs’ counsel had to spend an enormous amount of time, effort, and resources over the past

 22 months trying to get discovery to which they were entitled,” and that “[t]he delays in discovery

 caused by Kline (as well as other Defendants), have contributed to delays in the trial, which had

 been set for July 8, 2019,” and which has been rescheduled for October, 2020. (Dkt. 599 at 10;

 see also Mem. Op. at 33 (“For a long time, [Plaintiffs] have had to deal with unacceptable delays,

 obfuscations, and disregard for both their proper discovery requests and this Court’s many orders

 trying to enforce them.”).) Nor does the record demonstrate any likelihood that Plaintiffs will ever

 receive such discovery based on Vanguard’s affirmative testimony that relevant evidence has been

 lost, destroyed, or is otherwise no longer available to Plaintiffs. See Silvestri, 271 F.3d at 594.

        Third, Vanguard’s repeated “stalling and ignoring the direct orders of the court with

 impunity is misconduct that must obviously be deterred.” Young Again Prod., Inc., 459 F. App’x

 at 303 (internal quotation marks and citation omitted). Vanguard’s representatives have shown a

 shocking disregard for the Court’s authority, not only by blithely ignoring the Court’s numerous

 Orders but also by, for example, texting co-Defendants “about this litigation—when they should

 have been participating in discovery and other pretrial proceedings.” Sines, 2019 WL 3767475, at

 *14. Rousseau has similarly remained “active on social media” in connection with his leadership

 of another far-right organization, Patriot Front, while remaining mute to Plaintiffs’ repeated

 requests for compliance. Id. Vanguard only continues to make it abundantly clear that they view



                                                  19
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 24 of 28 Pageid#:
                                  10552



 this litigation and the Court’s Orders as “                     ” with which they need not bother

 themselves. (See Ex. 19.) Moreover, Vanguard’s failure to preserve evidence in this case threatens

 to undermine “the integrity of the judicial process because, ‘[a]s soon as the process falters . . . the

 people are then justified in abandoning support for the system.” Silvestri, 271 F.3d at 590 (citation

 omitted).

         Fourth, lesser sanctions are plainly insufficient considering the sheer magnitude of

 Vanguard’s misconduct. As a threshold matter, Vanguard has failed to meaningfully participate

 in discovery over a two-year period in violation of numerous Court Orders and over the imposition

 of lesser sanctions. Such behavior alone justifies the imposition of the most severe sanctions

 available. See Butler v. DirectSat USA, LLC, 2013 WL 6629240, at *1 (D. Md. Dec. 16, 2013)

 (“A party’s total failure to comply with the mandates of discovery, with no explanation for that

 failure, can certainly justify this harshest of sanctions.”). The requested sanctions are all the more

 appropriate because Vanguard has engaged in a pattern of willful misconduct that has permanently

 deprived Plaintiffs of access to material evidence relevant to prove their case. Indeed, at this stage

 of the proceedings, Plaintiffs’ requested remedies are the only means to properly “level[] the

 evidentiary playing field and . . . sanction[] the improper conduct.” Vodusek, 71 F.3d at 156.

                                           CONCLUSION

         For the reasons discussed above, as well as those identified in Plaintiffs’ First Sanctions

 Motion, Vanguard’s spoliation of material evidence, and its ongoing and intentional flouting of

 the Court’s Orders, require the imposition of “more drastic sanctions.” (Mem. Op. at 35.) The

 record aptly demonstrates that nothing less will suffice to address, if not cure, Vanguard’s

 egregious behavior in discovery, and to deter other Defendants from acting in a similar fashion.

 Plaintiffs therefore respectfully respect that the Court grant this Motion for Sanctions against



                                                   20
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 25 of 28 Pageid#:
                                  10553



 Vanguard Kline in its entirety and order the requested relief, in addition to any other relief as the

 Court deems just and proper.



 Dated: April 23, 2020                                 Respectfully submitted,

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                                                  21
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 26 of 28 Pageid#:
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                                     22
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 27 of 28 Pageid#:
                                  10555



                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 23, 2020, the foregoing was filed with the Clerk of Court
 through the CM/ECF system, which will send a notice of electronic filing to:

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                                                 23
Case 3:17-cv-00072-NKM-JCH Document 713 Filed 04/23/20 Page 28 of 28 Pageid#:
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                                     24
